 Upon consideration of the Report and Recommendation filed by the Florida Board of Bar Examiners, it is ordered that the Board’s recommendation is approved by the Court and G.R.F. shall be admitted to The Florida Bar subject to the following conditions: 1. The applicant’s license to practice law shall be placed on probation for a period of one year. 2. During the period of probation, the applicant shall: (a) continue to consult with Richard Senesac, Ph.D., or other licensed mental health provider, at least, quarterly or more frequently as his mental health provider deems necessary; (b) follow promptly, diligently and completely all instructions by his mental health provider including the taking of any medication in the recommended manner as may be prescribed by his mental health provider; (c) have his mental health provider submit quarterly reports to The Florida Bar during the entire probationary period. These reports shall confirm the applicant’s consultations for the preceding quarter and shall advise The Florida Bar of the applicant’s continuing ability to engage in the active practice of law; (d) obtain an agreement from his mental health provider stating that the mental health provider will immediately notify The Florida Bar if the applicant, misses a schedule appointment without prior rescheduling; and (e)submit quarterly sworn statements to The Florida Bar by March 31, June 30, September 30, and December 31 during the entire probationary pei'iod attesting to his compliance with the conditions set forth in 2(a), (b), (c), and (d) above. 3. The Florida Bar shall monitor the conditions set forth in the Consent Agreement pursuant to Rule l-3.2(b) of the Rules Regulating The Florida Bar, and the costs thereof shall be paid by the applicant to The Florida Bar or its designated monitoring agency. 4. To monitor effectively the provisions in this agreement, the applicant shall reside within the State of Florida during the entire period of probation. ■ Any business or pleasure trips outside Florida that exceed ten days shall occur only with the advance approval of The Florida Bar. If the applicant relocates outside the State of Florida during the probationary period for any reason, the applicant shall surrender his license to practice law in Florida and if the applicant fails to do so, the Supreme Court of Florida shall terminate his license. 5. If the applicant’s license is surrendered or terminated during the probationary period, the applicant shall resume the practice of law in the State of Florida only upon full compliance with the rules and regulations governing admission to The Florida Bar. 6. A failure to observe the conditions of the probation or a finding of probable cause as to conduct of the applicant committed during the period of probation may terminate the probation and subject the applicant to all available grievance procedures and disciplinary sanctions including disbarment under the Rules of Discipline. Upon receiving notice of a violation of the Court’s order of conditional admission, The Florida Bar may immediately petition the Court for an order of suspension. The applicant shall have ten days to file a response. If no response is timely filed by the applicant, then the Court shall issue an order suspending the applicant. If a response is filed, the matter shall be disposed of as the Court directs. Unless terminated by the Court, an order of suspension shall remain in effect until final disposition of the grievance procedures commenced by The Florida Bar against the applicant. 7. The applicant shall immediately inform The Florida Bar of any criminal arrest or prosecution or the filing of any grievance or complaint related to the applicant’s practice of law. 8. If circumstances so warrant it, the applicant and The Florida Bar may stipulate to an extension of the period of probation or The Florida Bar may petition the Court for such an extension with a final decision to be made by the Court. 9. The applicant specifically consents to and authorizes the release of any and all materials in the applicant’s file to The Florida Bar that the Bar may request from the Board to enable the Bar to fulfill its responsibilities under the Consent Agreement. A True Copy Test: John A. Tomasino Clerk, Supreme Court 